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 4   Telephone: (916) 554-2772
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   No. 2:09-CR-0170-GEB
                                         )
12              Plaintiff,               )   STIPULATION AND ORDER
                                         )   CONTINUING HEARING DATE AND
13        v.                             )   EXTENDING BRIEFING SCHEDULE
                                         )   ON DEFENDANTS’ RESPECTIVE
14   ROBERT L. CARR, and                 )   MOTIONS TO WITHDRAW THEIR
     THERESA ANN CARR,                   )   PREVIOUSLY ENTERED GUILTY
15      aka Teresa Carr,                 )   PLEAS
        aka Teri A. Carr,                )
16                                       )   Court:   Hon. Garland Burrell
                Defendants.              )
17                                       )
                                         )
18                                       )
19        Whereas, both defendants Robert Carr and Theresa Carr have
20   filed separate motions to withdraw their previously entered
21   guilty pleas, which motions are presently scheduled for hearing
22   on April 26, 2013;
23        Whereas, plaintiff United States of America’s motion to
24   preclude Robert Carr from renewing his motion to withdraw his
25   previously entered guilty pleas is also scheduled for hearing on
26   April 26, 2013;
27        Whereas, counsel for Theresa Carr, Assistant Federal
28   Defender (“AFD”) Douglas Beevers is unavailable to attend the

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 1   April 26, 2013, motions hearing because he has been recently
 2   scheduled for official furlough that day;
 3        Whereas, on April 9, 2013, the Court issued an order:            (1)
 4   declaring that Robert Carr has waived the attorney-client
 5   privilege with respect to all matters in which he claims that his
 6   attorney was ineffective and/or deficient; and (2) allowing the
 7   United States leave to take certain discovery from Robert Carr’s
 8   former attorney, Michael Long, Esq., and present attorney, Jan
 9   Karowsky, Esq., informally or via subpoena for information and/or
10   documents that would either support or refute Carr’s claim that
11   Mr. Long was ineffective and/or deficient as alleged in Carr’s
12   motion and/or supporting documents;
13        Whereas, Messrs. Long and Karowsky have advised the United
14   States that relevant documents exist and Mr. Long has relevant
15   information related to Robert Carr’s allegations that Mr. Long
16   was ineffective as Robert Carr’s attorney; however, the United
17   States has not received any of these documents or information
18   despite its requests to both Messrs. Long and Karowsky for the
19   documents and information;
20        Whereas, the parties desire additional time to negotiate the
21   production of documents and information that would either support
22   or refute Robert Carr’s claim that Mr. Long was ineffective as
23   Robert Carr’s counsel; and
24        Whereas the United States cannot adequately respond to the
25   respective motions filed by Robert Carr and Theresa Carr to to
26   withdraw their guilty pleas until after the United States
27   receives the discovery it has requested from Messrs. Long and
28   Karowsky,

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 1        It is hereby stipulated by and between the parties, through
 2   their respective counsel, that:
 3        1.      The hearing date for both defendants’ respective
 4   motions to withdraw guilty pleas and the United States’ motion to
 5   preclude Robert Carr from renewing his motion to withdraw his
 6   previously entered guilty pleas shall be scheduled for hearing on
 7   May 17, 2013;
 8        2.      Any response to a motion shall be filed by May 3, 2013,
 9   and any reply in support of a motion shall be filed by May 10,
10   2013.
11
12   Dated:    April 12, 2013                  /s/ Jan Karowsky
                                               ___________________________
13                                             JAN KAROWSKY
                                               Attorney for Defendant
14                                             Robert Carr
                                               (per phone authorization)
15
16   Dated:    April 12, 2013                  /s/ Douglas Beevers
                                               ___________________________
17                                             DOUGLAS BEEVERS
                                               Attorney for Defendant
18                                             Theresa Carr
                                               (per phone authorization)
19
20   Dated:    April 12, 2013                  BENJAMIN B. WAGNER
                                               United States Attorney
21
                                               /s/ Samuel Wong
22                                       By:   _______________________
                                               SAMUEL WONG
23                                             Assistant U.S. Attorney
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 1                                       ORDER
 2
 3        The Court, having received, read, and considered the
 4   stipulation of the parties, and good cause appearing therefrom,
 5   adopts the stipulation of the parties in its entirety as its
 6   order.
 7        IT IS SO ORDERED.
 8   Dated:    April 15, 2013
 9
10                                    GARLAND E. BURRELL, JR.
11                                    Senior United States District Judge

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